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                     EXHIBIT H
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From: Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov>
Sent: Thursday, April 3, 2025 5:27:50 PM
To: Alan Garber <alan_garber@harvard.edu>; Robert Hur <RHur@kslaw.com>;
williamburck@quinnemanuel.com <williamburck@quinnemanuel.com>;
president@harvard.edu <president@harvard.edu>
Cc: Keveney, Sean (HHS/OGC) <sean.keveney@hhs.gov>; Wheeler, Thomas
<Thomas.Wheeler@ed.gov>
Subject: Oﬃcial NoZce: Task Force to Combat AnZ-SemiZsm Le]er of Demands to Harvard
University

CAUTION: MAIL FROM OUTSIDE THE FIRM
Dr. Garber,

On behalf of the Federal Government’s Task Force to Combat Anti-
Semitism, I am sending you an official notice of pre-conditions your
institution must comply with in order to be in good standing and continue to
be the recipient of federal taxpayer dollars.


We look forward to your response.


Respectfully,

Josh Gruenbaum
Commissioner, Federal Acquisition Service
U.S. General Services Administration


          U.S. General Services Administration
          Josh Gruenbaum, Esq.

          Commissioner of Federal Acquisition Service

          202-815-3780

          josh.gruenbaum@gsa.gov
